        Case 3:17-cr-00044-BR      Document 66      Filed 01/09/19   Page 1 of 2




Thomas E. Price, OSB #90362
thomas_price@fd.org
Federal Public Defender’s Office
101 S.W. Main Street, Suite 1700
Portland, Oregon 97204
(503) 326-2123 Telephone
(503) 326-5524 Facsimile

Attorney for Defendant




                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF OREGON



 UNITED STATES OF AMERICA,                                       No. 3:17-cr-00044-BR

                               Plaintiff,
                                                      DEFENDANT’S SENTENCING
       v.                                                      MEMORANDUM

 JARED DALE GILLESPIE,

                             Defendant.

      Jared Gillespie will appear before this Court for sentencing on January 15, 2019.

Pursuant to a plea agreement with the government, Mr. Gillespie pleaded guilty to Count

5 of the Indictment charging him with possession with intent to distribute fentanyl.

Mr. Gillespie accepts the calculations in the final presentence report as accurate. At the




Page 1 DEFENDANT’S SENTENCING MEMORANDUM
         Case 3:17-cr-00044-BR        Document 66   Filed 01/09/19   Page 2 of 2




time of sentencing, the defense will urge the Court to impose a sentence of 78 months in

consideration of § 3553(a) factors.

       Respectfully submitted on January 9, 2019.



                                          /s/ Thomas E. Price
                                          Thomas E. Price, Attorney for Defendant




Page 2 DEFENDANT’S SENTENCING MEMORANDUM
